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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF INDIANA



IRISH 4 REPRODUCTIVE HEALTH, et al.,

                                    Plaintiffs,
                                                               Case No. 3:18-cv-491-PPS-MGG
                             v.
UNITED STATES DEPARTMENT OF HEALTH
                                                               Judge Philip P. Simon
AND HUMAN SERVICES, et al.,

                                    Defendants.


                         NOTRE DAME’S OPPOSITION
              TO PLAINTIFFS’ MOTION FOR A RULE 16 CONFERENCE

       The University of Notre Dame continues to believe that in the wake of Little Sisters of the

Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367 (2020), this Court should decide

“which claims and issues remain in the case before requiring Defendants to . . . proceed to

discovery.” Joint Status Report at 4 (ECF No. 94). Accordingly, for the reasons laid out in the

Federal Defendants’ briefing, this Court should deny Plaintiffs’ request for a Rule 16 conference.

See Fed. Defs.’ Opp’n to Pls.’ Mot. for a Rule 16 Conf. (ECF No. 113).


Dated: October 13, 2020                      Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served on

Plaintiffs’ counsel and the government defendants using the Court’s CM/ECF system on the

October 13, 2020:



                                                   /s/ Matthew A. Kairis
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